     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 1 of 34




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

HENRY CONNER,

       Plaintiff,

v.                                     CASE NO. 3:20-cv-5263-TKW-EMT

CENTURION OF FLORIDA,
LLC and MHM HEALTH
PROFESSIONALS, LLC f/k/a
MHM HEALTH PROFESSIONALS,
INC.,

       Defendants.
                                   /

           DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Centurion of Florida, LLC (“Centurion”) and MHM Health

Professionals, LLC (“MHMHP”) (collectively, “Defendants”), by and through their

undersigned counsel and pursuant to Fed.R.Civ.P. 56, hereby move for summary

judgment. The grounds upon which the instant motion is based are set forth in the

following Supporting Memorandum of Law.




ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 2 of 34




                     SUPPORTING MEMORANDUM OF LAW

                                           I.

                              STATEMENT OF FACTS

A.      Background

        1.      Centurion maintains a contract with the Florida Department of

Corrections (“FDOC”) for the provision of comprehensive inmate health services.

Centurion subcontracts with MHMHP, which provides staffing of healthcare

providers. [Doc. 29-30, ¶ 3].

        2.      Security Officers are employees of the FDOC. [Doc. 29-1, 57:24-58:2].

FDOC Security Officers are not employees of MHMHP or Centurion. [Doc. 29-

1,58:2-5].

        3.      On April 4, 2016, Plaintiff Henry Conner (“Conner”) was offered

employment with MHMHP as a Mental Health Professional (“MHP”). [Doc. 29-1,

41:17-19; Doc. 29-3]. Conner does not know who made the decision to hire him.

[Doc. 29-1, 51:1-6].

        4.      As a part of Conner’s duties as an MHP, Conner completed

behavioral/mental health assessments, provided regular follow-up to assigned

patients to monitor their current mental status and functioning, provided crisis

interventions with daily follow-up as needed, conducted individual and group

counseling and observed patients to detect psychiatric symptoms, mental

                                           2
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 3 of 34




deficiencies, abnormal behavior or maladjustment. [Doc. 29-1, 52:24-53:20; Doc.

29-5].

         5.     Conner was assigned to work at Santa Rosa Correctional Institution

(“SRCI”). [Doc. 29-1, 42:2-5].

         6.     While assigned at SRCI, Conner reported to Dr. Ginger Spaulding (“Dr.

Spaulding”). [Doc. 29-1, 53:21-23]. Conner also reported to Katy Hall (“Hall”)

administratively. [Doc. 29-1, 55:13-16].

         7.     Conner was assigned to the J-Dorm in the Annex of SRCI as of October

2018. [Doc. 29-1, 56:4-8]. Conner remained in the J-Dorm for the duration of his

employment at SRCI. [Doc. 29-1, 55:17-56:8].

         8.     Conner was a salaried employee making $47,500 annually, which

remained the same throughout his time at SRCI. [Doc. 29-1, 51:7-12].

B.       October 9, 2018 Incident

         9.     On October 15, 2018, Lauren Gaylord (“Gaylord”), an Activities

Counselor, submitted an FDOC Incident Report, in which she reported that, on

October 9, 2018, she “noticed through an unobstructed view a noose made of toilet

paper hanging from the roll on the railing.” [Doc. 29-1, Doc. 29-6].

         10.    Gaylord reported this to her supervisor, Dr. Spaulding, on October 11,

2018. [Doc. 29-1, Doc. 29-6].



                                            3
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 4 of 34




        11.     Conner did not see the noose. [Doc. 29-1, 66:6-9].

        12.     The Officer who allegedly made the noose, Office Hollis, was removed

from the dorm. [Doc. 29-1, 79:12-15, 84:15-20, 87:2-5; Doc. 29-7]. Officer Hollis

was removed by no later than October 12, 2018. [Doc. 29-1, 79:12-15, 84:15-20,

87:2-5; Doc. 29-7].

        13.     Conner cannot identify any acts of racism or retaliation that Officer

Hollis committed after he was removed from the dorm. [Doc. 29-1, 74:19-75:11].

        14.     While Officer Hollis was removed from the dorm in which Conner

worked, J-Dorm, following this incident, Conner thought that the Officer should

have been terminated. [Doc. 29-1, 90:2-12].

        15.     Conner participated in numerous meetings with MHMHP Management

and FDOC Management in which they discussed this incident. [Doc. 29-1, 79:16-

80:25, 82:5-83:5].

C.      April 2019 Incident And Meeting

        16.     In or around April 2019, Conner learned that Officer Hollis had not

been terminated. [Doc. 29-1, 119:16-120:1]. Conner saw the Officer doing a training

event and subsequently “voiced his concerns” that the Officer should have been fired

for a “hate crime.” [Doc. 29-1, 90:2-16].

        17.     At some point in April 2019, Conner had a conversation with Sarah

Brus (“Brus”), MHMHP’s Human Resources Business Partner for the Region in

                                            4
ACTIVE 53512988v1
       Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 5 of 34




which SRCI located, in which he informed her about “the noose incident and the fact

that there was nothing being done about it and that we still felt that our safety was

in danger.” [Doc. 29-1, 117:13-21]. Conner also “verbalized the unfairness of

having to work in a hostile work environment” to his supervisors and the warden.

[Doc. 29-1, 118:18-22].

        18.     Also in April 2019, Conner claims that his co-worker Betty Young

(“Young”) was retaliated against. [Doc. 29-1, 81:1-22]. Conner believed Young

had witnessed an inmate being beat, filed a report, and was suspended and terminated

as a result. [Doc. 29-1, 92:21-93:4]. However, Conner did not see this incident.

[Doc. 29-1, 93:17-19]. Moreover, in her written statement, Young did not state that

she had witnessed the inmate being assaulted. [Doc. 29-1, 102:24-103:9; Doc. 29-

10].

        19.     The inmate who was allegedly assaulted and the nurse who was present

both submitted statements saying that the inmate fell off the table and was not

assaulted. [Doc. 29-11, Doc. 29-12].

        20.     Conner admits that, at the time he testified that he believed Young had

been retaliated against, he did not have all the information about the situation. [Doc.

29-1, 106:5-11].

        21.     On April 22, 2019, a meeting was held with the Annex Mental Health

Department. [Doc. 29-1, 90:2-91:25; Doc. 29-15]. The meeting included the FDOC

                                            5
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 6 of 34




Warden, Hall, Spaulding, Kristal Ake (“Ake”), Regional Director for MHMHP, as

well as other members of the FDOC Staff and the MHPs. [Doc. 29-1; Doc. 29-15].

The meeting was held to discuss the MHPs’ concerns. [Doc. 29-1, 90:2-91:25].

        22.     During this meeting, Ake informed the staff that some individuals felt

uncomfortable in the breakroom due to “heated conversations taking place in the

lunch room, condescending remarks made with loud tone of voices, with some staff

no longer feeling comfortable to eat lunch in that area.” [Doc. 29-1, 122:15-19, Doc.

29-15].

        23.     Conner believes the meeting was retaliatory because they discussed

“how reports and stuff are being filed inappropriately and everything like that and

[he] was led to believe that this is what the meeting was about.” [Doc. 29-1, 90:2-

91:25]. Conner considered the meeting “disciplinary.” [Doc. 29-1, 90:2-91:25].

        24.     Nevertheless, Conner repeatedly admits he was never disciplined

during his employment at MHMHP. [Doc. 29-1, 57:13-15, 111:15-18].

        25.     Following the meeting, Conner received a letter from the Warden

detailing the procedure for reporting incidents and explaining how they would be

investigated. [Doc. 29-1, 128:23-129:13; Doc. 29-17].




                                            6
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 7 of 34




        26.     On April 23, 2019, Conner submitted a written complaint to MHMHP’s

Human Resources alleging “hostile work environment” and “retaliation” as a result

of the April 22, 2019 meeting. [Doc. 29-14]. The complaint alleged, in part:

        I felt that I was ambushed, threaten, and marginalized even more as
        an African American and a professional following this meeting. I
        believe that this “meeting” was a form of retaliation due to my
        verbalizing the unfairness of having to work in an hostile
        environment. By appearance and definition, I believe that this was a
        form of intimidation/bullying…

[Doc. 29-14].

D.      July 4th Incident

        27.     In July 2019, Conner learned of an incident involving another co-

worker, Darsell Harris (“Harris”), that he believed was retaliatory and/or racist.

[Doc. 29-1, 87:14-24].

        28.     Conner was on vacation the day the incident allegedly occurred. [Doc.

29-1, 131:2-4].

        29.     When Conner returned from vacation, Harris informed him that she had

had a disagreement with FDOC Officers about the time her group ended, and the

FDOC officers “had threatened to lock her up in the room and beat the crap out of

her.” [Doc. 29-1, 132:22-133:19].

        30.     The alleged incident was first reported to management on July 9, 2019.

[Doc. 29-1, 135:7-14].


                                            7
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 8 of 34




        31.     On or before July 10, 2019, FDOC removed the Officers from the J-

Dorm as a result of this incident. [Doc. 29-1,149:14-25; Doc. 29-21].

E.      Walkout, Suspension and Transfer

        32.     On July 11, 2019, some of the SRCI MHPs requested a meeting with

their supervisors to address what they asserted was a hostile work environment.

[Doc. 29-1, 141:8-10].

        33.     Dr. Spaulding left the meeting early because she felt like she was being

verbally attacked by the MHPs. [Doc. 29-1, 144:11-14].

        34.     Shortly after the meeting, Conner told Ms. Hall “we will be leaving for

the day.” [Doc. 29-1, 145:19-146:1]. Conner’s reason for leaving was, at least in

part, “to protest the environment.” [Doc. 29-1, 146:21-25].

        35.     Six other MHPS (Harlan Wallner, Tanya McIntyre, Tracy Bowen,

Jillian Bradsell, Henry Conner and Clifton Richard) also walked out of the facility

after this meeting. [Doc. 29-1, 163:2-12].

        36.     Conner does not know whether his scheduled patients were seen after

he left the facility. [Doc. 29-1, 156:18-25].

        37.     All MHPs assigned to the J Dorm on July 11, 2019 left the facility

following the meeting. [Doc. 29-1, 163:8-12].

        38.     On July 12, 2019, Conner returned to SRCI and was informed he had

been suspended without pay pending an investigation. [Doc. 29-1, 153:2-20].

                                            8
ACTIVE 53512988v1
      Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 9 of 34




        39.     On or after July 16, 2019, Conner received a suspension letter stating

that he had been placed on suspension without pay effective July 12, 2019 pending

the completion of an internal investigation as a result of walking off the job and

abandoning his patients on July 11, 2019. [Doc. 29-1, 157:1-9; Doc. 29-22].

        40.     All of the other MHMHP employees who walked off the job on July

11, 2019, Wallner, McIntyre, Bowen, Bradsell, Conner, and Richard were also

suspended. [Doc. 29-1, 163:2-19]. McIntyre, Bowen, Bradsell, Conner and Richard

are black but Wallner is not.

        41.     All of the individuals who walked out on July 11, 2019 were suspended

and offered transfers to other facilities. [Doc. 29-1, ¶ 7].

        42.     Conner is not aware of any other individual who walked out on their

shift and left their patients uncared for, but was not suspended. [Doc. 29-1, 161:24-

162:2].

        43.     On July 25, 2019, Conner had a telephone conversation with Brus and

MHMHP’s H.R. Manager, Lisa Lynch (“Lynch”), in which he informed them he did

not feel safe at SRCI. [Doc. 29-1, 160:8-161:9; Doc. 29-23].

        44.     Thereafter, Conner had a conversation with Lynch and Victoria Love

(“Love”), MHMHP’s Vice President of Operations, in which he was offered a

transfer to Century Correctional Institution (“Century”). [Doc. 29-1, 164:4-11].



                                            9
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 10 of 34




        45.     Transferring Conner to Century was necessary because Conner told

Lynch and Brus that he did not feel safe working at SRCI. [Doc. 29-1, 148:9-13;

160:8-18].

        46.     Conner did not accept the transfer. Rather, on August 1, 2019, Conner

submitted his resignation. [Doc. 29-1, 165:7-15, Doc. 29-24].

        47.     Love was the ultimate decisionmaker with regard to Conner’s

suspension and transfer. [Doc. 29-30, ¶ 8].

        48.     Love’s decision to suspend Conner was not based on any retaliatory

animus. [Doc. 29-30, ¶ 9]

        49.     Love’s decision to suspend Conner was not based on any racial animus.

[Doc. 29-30, ¶ 10]

        50.     Instead, Love made the decision to suspend Conner because he walked

out of the institution and abandoned his post and patients. [Doc. 29-30, ¶ 6]

        51.     Love made the decision to offer Conner the transfer to Century because

Conner indicated that he did not feel safe returning to SRCI. [Doc. 29-30, ¶ 11]

        52.     Love’s decision to offer Conner the transfer was not based on any

retaliatory animus. [Doc. 29-30, ¶ 12]

        53.     Love’s decision to offer Conner the transfer was not based on any racial

animus. [Doc. 29-30, ¶ 13].



                                            10
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 11 of 34




F.      Conner’s Claims

        54.     Conner claims the April 22, 2019 meeting and July 2019 suspension

without pay were acts of retaliation and racism. [Doc. 29-1, 76:7-77:19].

        55.     Conner admits that no one ever made any racist comments to him

during his employment at MHMHP. [Doc. 29-1, 58:15-18]. Conner also admits that

he does not recall overhearing any racist comments during his employment at

MHMHP. [Doc. 29-1, 58:19-21].

        56.     Conner admits that none of his supervisors made any statements

indicating a retaliatory animus towards him. [Doc. 29-1, 61:5-12].

        57.     Conner also admits that Lynch, Brus, and Love did not make any

statements showing any retaliatory motive. [Doc. 29-1, 61:22-62:1; 62:8-11; 64:14-

17]. However, Conner claims that Lynch, Brus, and Love demonstrated a “lack of

a statements to basically show support for their employees.” [Doc. 29-1, 58:19-21,

61:22-62:1, 62:8-11, 64:14-17].

        58.     Conner admits that he did not ever have any concerns with how his

supervisors “treated [him] specifically.” [Doc. 29-1, 59:16-22]. However, Conner

claims he had “a little bit of concern” with “the way the situation was treated.” [Doc.

29-1, 59:16-22].

        59.     Conner admits that no one at MHMHP subjected to him to acts of

racism following the alleged noose incident. [Doc. 29-1, 75:12-17]. Instead, Conner

                                          11
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 12 of 34




“consider[s] retaliation from [his] complaints as an act of racism itself.” [Doc. 29-1,

75:12-21].

                                           II.

                                     ARGUMENT

A.      Summary Judgment Standard

        One of the primary purposes of summary judgment is to isolate and dispose

of factually unsupported claims. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24

(1986). To that end, the United States Supreme Court has held that the plain

language of Rule 56(c) of the Federal Rules of Civil Procedure:

        mandates the entry of summary judgment, after adequate time for
        discovery and upon motion, against a party who fails to make a
        showing sufficient to establish the existence of an element essential
        to that party’s case, and on which that party will bear the burden of
        proof at trial. In such a situation, there can be no “genuine issue as to
        any material fact,” since a complete failure of proof concerning an
        essential element of the nonmoving party’s case necessarily renders
        all other facts immaterial.

Id. at 322-23.

        The party opposing summary judgment may not simply rest upon mere

allegations or denials, but must make a sufficient showing to establish the existence

of an essential element to the party’s case, and on which the party will bear the

burden of proof at trial. Celotex Corp., 477 U.S. at 323-24; Barfield v. Brierton, 883

F.2d 923, 933 (11th Cir. 1989). If the nonmovant “fails to adduce evidence which

would be sufficient, when viewed in a light most favorable to the nonmovant, to
                                            12
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 13 of 34




support a jury finding for the nonmovant, summary judgment may be granted.”

Lurvey v. Metropolitan Dade County, 870 F. Supp. 1570, 1575 (S.D. Fla. 1994)

(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254-55 (1986)). The burden

on the nonmoving party is substantial; a mere scintilla of evidence is insufficient to

defeat a motion for summary judgment. Canty v. Bottacchi, S.A. de Navegacion,

849 F. Supp. 1552, 1553 (S.D. Fla. 1994) (citing Anderson, 477 U.S. at 251-52).

A.      Count I – Race Discrimination

        1. Conner cannot show that he was subjected to disparate treatment
           based on his race.

        When a plaintiff relies on circumstantial evidence to prove a race

discrimination claim under Title VII 1, under McDonnell-Douglas, a plaintiff must

establish a prima facie case of discrimination. A prima facie case of discrimination

consists of proof that (1) the plaintiff is a member of a protected class; (2) he was

qualified for his position; (3) he suffered an adverse employment action; and (4) he

was treated less favorably than a similarly-situated individual outside of his

protected class. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817,

36 L. Ed. 2d 668 (1973); Maynard v. Bd. of Regents of Div. of Fla. Dept. of Educ.,

342 F.3d 1281, 1289 (11th Cir. 2003).


1
  Section 1981 and FCRA claims are also evaluated under the McDonnell
Douglas burden-shifting framework. Bryant v. Jones, 575 F.3d 1281, 1307 (11th
Cir. 2009); Gossard v. JP Morgan Chase & Co., 612 F. Supp. 2d 1242, 1252 (S.D.
Fla. 2009).
                                         13
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 14 of 34




        Once a plaintiff establishes a prima facie case, the burden shifts to the

employer to articulate a legitimate business reason for its employment decision, and

the plaintiff must show that reason is mere pretext for unlawful discrimination. “[A]

reason cannot be proved to be ‘a pretext for discrimination’ unless it is shown both

that the reason was false, and that discrimination was the real reason.” Hudson v.

Blue Cross Blue Shield of Alabama, 431 Fed. Appx. 868, 869 (11th Cir. 2011)

(quoting St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 515, 113 S. Ct. 2742, 125 L.

Ed. 2d 407 (1993)).

        “Provided that the proffered reason is one that might motivate a reasonable

employer, an employee must meet that reason head on and rebut it, and the employee

cannot succeed by simply quarreling with the wisdom of that reason.” Chapman v.

AI Transp., 229 F.3d 1012, 1030 (11th Cir. 2000). The Court “must evaluate

whether the plaintiff has demonstrated such weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the proffered reason so that a

reasonable factfinder could conclude that it is unworthy of credit.” Jefferson v.

Burger King Corp., 505 Fed. Appx. 830, 834 (11th Cir. 2013).

        2. The only potential adverse action is Conner’s suspension.

        Not all conduct of an employer that negatively affects an employee constitutes

an adverse employment action. Davis v. Town of Lake Park, Fla., 245 F.3d 1232,

1238 (11th Cir. 2001). Instead, there must have been a serious change to the terms

                                          14
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 15 of 34




and conditions of plaintiff’s employment. Id. Corrective action must result in a

change of the terms and conditions of employment such as reduction in pay, benefits,

or responsibilities. See Manley v. DeKalb County Georgia, 587 Fed. Appx. 507, 513

(11th Cir. 2014).

        Here, the only potential adverse action is Conner’s suspension. 2 Conner’s

proposed transfer to Century cannot be an adverse employment action because it was

never accepted and never actually occurred. 3 See Baldwin v. Blue Cross/Blue Shield

of Alabama, 480 F.3d 1287, 1300 (11th Cir. 2007) (holding that an “offer to transfer

an employee . . . is not an employment action; it is merely an offer”); Alexander v.

Westbury Union Free Sch. Dist., 829 F. Supp. 2d 89, 108 (E.D.N.Y. 2011) (a

suggestion that the plaintiff transfer to a different position or even a plan to transfer

the plaintiff did not constitute a tangible employment action because the transfer

never actually occurred); Duhe v. U.S. Postal Service, No. 03-cv-746, 2004 U.S.

Dist. LEXIS 3737, 2004 WL 439890, *11 (E.D. La. Mar. 9, 2004) (because the


2
 The April 22, 2019 cannot constitute an adverse employment action because it did
not result in any change to the terms and conditions of Conner’s employment.
Conner admits he was never disciplined, and his characterization of the meeting as
a “disciplinary” meeting does not demonstrate any change to the terms and
conditions of his employment. Davis, 245 F.3d at 1238.
3
  Even if the transfer offer was an adverse action, Conner’s claims of discrimination
and retaliation still fail because MHMHP had a legitimate business reason to transfer
him because he did not feel safe at SRCI, and Conner cannot show that this reason
is pretextual. To the contrary, he repeatedly admits he said he did not feel safe at
SRCI, and Ms. Love made the decision to transfer him on that basis.
                                           15
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 16 of 34




plaintiff “was simply offered a lateral transfer in an attempt to remedy the

harassment, and she was subject to no adverse consequences for rejecting that offer,

[she] cannot raise any genuine issue of material fact with respect to whether a

'tangible employment action' or 'constructive discharge' occurred”).

        3. Conner cannot identify anyone similarly situated who was treated
           more favorably.

        Conner’s suspension claim fails on the fourth prong of his prima facie case

because he cannot identify any comparators who engaged in similarly conduct and

were not disciplined in the same manner.

        In order to establish a “similarly situated” comparator, a plaintiff must show

that he and the comparator “similarly situated in all material respects.” Lewis v. City

of Union, GA, 918 F.3d 1213 (11th Cir. 2019) (en banc). This means that a

comparator must have “engaged in the same basic conduct (or misconduct) as the

plaintiff, . . . will have been subject to the same employment policy, guideline, or

rule as the plaintiff, . . . will ordinarily (although not invariably) have been under the

jurisdiction of the same supervisor as the plaintiff, and . . . will share the plaintiff's

employment or disciplinary history[.]” Id.

        Here, Conner walked out on mentally ill inmate patients. Conner cannot

identify anyone else who walked out on their shift and left their patients uncared for,

but who was not suspended. Moreover, Conner was treated in the same manner as

every other individual who walked out on July 11 and admits that all who walked
                                           16
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 17 of 34




out on July 11 were suspended, including an employee outside his protected class.

Conner simply has not identified any individual, who was similarly situated, and

outside of his race, that walked out on his or her patients without notice and was not

suspended.

        Conner cannot establish a prima facie case because he cannot identify any

similarly situated comparator as defined in Lewis v. City of Union, supra. Therefore,

because Conner cannot establish a prima facie case, “summary judgment is

appropriate.” McQueen v. Ala. DOT., 2019 U.S. App. LEXIS 11778 (11th Cir.

2019) (citing Holifield v. Reno, 115 F.3d 1555, 1562 (11th Cir. 1997)).

        4. MHMHP had a legitimate business reason for Conner’s suspension.

        Assuming arguendo that Conner could establish a prima facie case, which

Defendants deny, the burden shifts to Defendants to provide a legitimate, non-

discriminatory reason for any alleged adverse action.

        Conner was suspended following walking out on his patients and leaving the

facility without making arrangements for the care of his patients. Such behavior was

unprofessional and endangered his patients.          See Hatfield v. Bio-Medical

Applications of Ala., Inc., 2012 U.S. Dist. LEXIS 138361 (M.D. Ala Sept. 4, 2012)

(plaintiff’s violations of policies and procedures and endangering patient safety a

legitimate business reason for termination); see also Dougherty v. Mem’l Sloan-

Kettering Cancer Ctr., 2002 U.S. Dist. LEXIS 13216 (S.D. N.Y. July 16, 2002)

                                         17
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 18 of 34




(Plaintiff’s errors that could have endangered patients’ health and safety were a

legitimate basis for termination).

        5. Conner cannot demonstrate pretext.

        Conner cannot demonstrate that MHMHP’s legitimate and nondiscriminatory

reasons for his suspension were mere pretext. See Chapman v. A-1 Transport, 229

F.3d 1012 (11th Cir. 2000) (en banc); Alvarez v. Royal Atl. Developers, Inc., 610

F.3d 1253, 1265 (11th Cir. 2010) (“[i]t matters not whether [a plaintiff] has made

out a prima facie case if [ ] he cannot create a genuine issue of material fact as to

whether [the defendant]’s proffered reasons for firing h[im] are pretext masking

discrimination”).

        To show pretext, Conner must offer evidence showing “such weaknesses,

implausibilities, inconsistencies, incoherencies, or contradictions in [Defendant's]

proffered legitimate reasons for its action that a reasonable fact finder could find

them unworthy of credence.” Combs v. Plantation Patterns, 106 F.3d 1519, 1538

(11th Cir. 1997) (internal marks omitted). Mere assertions of speculation regarding

a “discriminatory motive is insufficient.” Turner v. Inzer, 2012 U.S. Dist. LEXIS

137847, at *5 (N.D. Fla. Sept. 26, 2012) (citing Edwards v. Acadia Realty Trust,

Inc., 141 F. Supp. 2d 1340, 1346-47 (M.D. Fla. Mar. 9, 2001)); see also Brown v.

Progress Energy, 364 Fed. Appx. 556, 558 (11th Cir. 2010).



                                         18
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 19 of 34




        Conner cannot establish pretext unless he shows both that the reasons were

false and that discrimination was the real reason for his adverse employment actions.

St. Mary’s Honor Ctr., 509 U.S.C. at 515; Flowers v. Troup Cnty. Sch. Dist., 803

F.3d 1327, 1339 (11th Cir. 2015) (“[c]ontradicting the [employer]’s asserted reason

alone…no longer supports an inference of unlawful discrimination”); Brooks v.

County Comm’n, 446 F.3d 1160, 1163 (11th Cir. 2006) (“A plaintiff must show not

merely that the defendant’s employment decisions were mistaken but that they were

in fact motivated by race…[A] plaintiff may not establish that an employer’s

proffered reasons are pretextual merely by questioning the wisdom of the employer’s

reasons, at least not where…the reason is one that might motivate a reasonable

employer.” (citation omitted)). Thus, to show that a defendant’s proffered reason

is pretext, the plaintiff must “present concrete evidence in the form of specific

facts…” Earley v. Champion Int’l Corp., 907 F.3d 1077, 1081 (11th Cir. 1990)

(emphases added).

        Here, Conner was suspended for walking out on his patients along with six

other MHPs. He was thereafter offered a transfer because he stated he did not feel

safe returning to SRCI. Conner admits that he was insistent in his belief that he did

not feel safe working at SRCI. When questioned in deposition about the basis for

his race discrimination claim, Conner claimed that he considered alleged retaliation

to be the same as race discrimination, and that it was really a “lack of” statements in

                                          19
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 20 of 34




action. However, this testimony falls well short of meeting Conner’s burden of

proving that the legitimate reasons for his suspension were both false and pretextual.

See Phuong Nguyen v. Ga. Power Co., 2013 U.S. Dist. LEXIS 10773 (S.D. Ga.

2013) (granting summary judgment in favor of defendant because it provided a

legitimate and nondiscriminatory reason that plaintiff could not prove was both false

and pretextual).

        In addition, Conner cannot show that he prearranged for the care of his

patients before he left the facility on July 11th. He also cannot prove that MHMHP

took different actions against white employees.        Accordingly, Conner cannot

establish that both MHMHP’s reasons were false and that race discrimination was

the real reason for his suspension. Therefore, summary judgment should be granted

in MHMHP’s favor on Conner’s race discrimination claims.

B.      Count II – Retaliation

        To state a claim for retaliation under Title VII, the plaintiff must show “(1)

[h]e engaged in statutorily protected expression; (2) that [h]e suffered an adverse

employment action; and (3) that there is some causal relation between the two

events.” McCann v. Tillman, 526 F.3d 1370, 1375 (11th Cir. 2008) (quotation

omitted).

        Following the Supreme Court’s decision in University of Texas Southwestern

Medical Center v. Nassar, 570 U.S. 338, 133 S.Ct. 2517, 186 L. Ed. 2d 583 (2013),

                                          20
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 21 of 34




a plaintiff must show more than temporal proximity between the protected activity

and his or her adverse action to satisfy the causation element of a prima facie case

of retaliation. Instead, a plaintiff must establish that his or her protected activity was

a “but-for” cause of the adverse action by the employer. Nassar, 133 S.Ct. at 2534.

        The “but-for” cause element “requires a closer link than mere proximate

causation, it requires that the proscribed animus have a determinative influence in

the employer’s adverse decision.” Sims v. MVM, Inc., 704 F.3d 1327, 1335-36 (11th

Cir. 2013). See also Smith v. City of Fort Pierce, 565 Fed. Appx. 774 (11th Cir.

2014) (to establish a prima facie case of retaliation, a plaintiff must offer evidence

from which a reasonable jury might conclude that an employer’s retaliatory animus

was the “but-for” cause of the adverse action).

        If Conner establishes a prima facie case, the burden shifts to Defendants to

provide a legitimate, non-retaliatory reason for the adverse action. E.E.O.C. v.

Reichhold Chemicals, Inc., 988 F.2d 1564, 1571-72 (11th Cir. 1993).                 Once

Defendants provided such a reason, the burden then shifts back to Conner to prove,

by a preponderance of the evidence, that the reason was not a true reason, but merely

pretext for retaliation. Meeks v. Computer Associates Int’l., 15 F.3d 1013, 1019

(11th Cir. 1994).

        Pretext means more than inconsistency; pretext is “a lie, specifically a phony

reason for some action.” Brown v. Sybase, Inc., 287 F.Supp.2d 1330, 1340 (S.D.

                                           21
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 22 of 34




Fla. Sept. 23, 2003) (quoting Silvera v. Orange County School Bd., 244 F.3d 1253,

1261 (11th Cir. 2001)). Whether the reason provided by MHMHP for suspending

and transferring Conner was pretext for retaliation must be established by Conner

through “significantly probative evidence.” Johnson v. Atlanta Indep. Sch. Sys., 137

Fed. Appx. 311, 315 (11th Cir. 2005); Clark v. Coats & Clark, Inc., 990 F.2d 1217,

1228 (11th Cir. 1993) (citations omitted).

        Conner cannot meet his burden “by simply quarreling with the wisdom of that

reason.” Wood v. Calhoun Cty. Fl., 626 Fed. Appx. 954, 956 (11th Cir. 2015),

quoting Chapman v. Al Transp., 229 F.3d 1012, 1030 (11th Cir. 2000) (en banc).

Instead, “the inquiry into whether an employer’s proffered reasons were merely

pretextual centers on the employer’s beliefs, not the beliefs of the employee or even

objective reality.” Lopez v. AT&T Corp., 457 Fed. Appx. 872, 874 (11th Cir. 2012);

Alvarez v. Royal Atlantic Developers, Inc., 610 F.3d 1253, 1266-67 (11th Cir. 2010).

        1. Conner cannot establish that the April 22, 2019 meeting was a
           materially adverse action

        For purposes of a retaliation claim, an “adverse employment action” is any

action that “well might have dissuaded a reasonable worker from making or

supporting a charge of discrimination.” Burlington N. & Santa Fe Ry. Co. v. White,

548 U.S. 53, 68, 126 S. Ct. 2405, 165 L. Ed. 2d 345 (2006). The Eleventh Circuit

has described actionable adverse employment actions as “decisions such as

termination, failure to hire, or demotion,” Stavropoulos v. Firestone, 361 F.3d 610,
                                         22
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 23 of 34




617 (11th Cir. 2004); “a serious and material change in the terms, conditions, or

privileges of employment,” Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1239

(11th Cir. 2001) (emphasis omitted); and conduct that “deprives [the employee] of

employment opportunities, or adversely affects his or her status as an employee,”

Gupta v. Fla. Bd. of Regents, 212 F.3d 571, 587 (11th Cir. 2000).

        Here, Conner claims the April 22, 2019 meeting was retaliatory. Specifically,

Conner claims that management at the meeting discussed the proper way for making

reports and complaints and that he considered the meeting disciplinary. However,

Conner simultaneously and repeatedly admits he was never disciplined during his

employment.

        Even if Conner’s perception of the meeting was correct, the meeting does not

rise to the level of a materially adverse employment action. See Verdi v. City of N.Y.,

306 F. Supp. 3d 532, 2018 U.S. Dist. LEXIS 10594, at *5 (S.D.N.Y. Jan. 22, 2018)

(meeting and subsequent counseling memorandum did not support a Title VII

retaliation claim); See Bhatti v. Trs. of Boston Univ., 659 F.3d 64, 73 (1st Cir. 2011)

(holding that allegedly undeserved post-complaint reprimands unaccompanied by

“tangible consequences” were not materially adverse); Cole v. Illinois, 562 F.3d 812,

817 (7th Cir. 2009) (holding that a post-complaint improvement plan indicating that

the plaintiff should “become more aware of her tone” was not retaliatory). Sebastian

v. City of Chicago, 2008 US Dist. LEXIS 60570 (N.D. Ill. July 24, 2008) (verbal

                                          23
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 24 of 34




counseling and informal meeting did not rise to the level of materially adverse

action); Mickelson v. New York Life Ins. Co., 460 F.3d 1304, 1309, 1318 (10th Cir.

2006) (no materially adverse action based on meeting with three members of

management in which supervisor became “extremely angry”); see also Breneisen v.

Motorola, Inc., 512 F.3d 972, 981-82 (7th Cir. 2008) (no materially adverse action

based [**40] on meetings with supervisor in which supervisor questioned reasons

for excessive FMLA leave and criticized plaintiff for taking leave); Devin v.

Schwan's Home Serv., Inc., 491 F.3d 778, 787 (8th Cir. 2007) (no materially adverse

action based on meeting with supervisor even though meeting was “undoubtedly

uncomfortable” for plaintiff); Ahern v. Shinseki, 2009 U.S. Dist. LEXIS 50214, 2009

WL 1615402, at *6 (D.R.I. June 9, 2009) (no materially adverse action based on

required, regular meetings with supervisor in which plaintiff was “berated” did not

constitute materially adverse action); Nolan v. Swartz Campbell, LLC, 2008 U.S.

Dist. LEXIS 15501, 2008 WL 598291, at *20 (W.D. Pa. Feb. 29, 2008) (no

materially adverse action based on meeting with supervisor in which plaintiff felt

apprehension and intimidated); Nagle v. RMA, The Risk Mgmt. Ass'n., 513 F. Supp.

2d 383, 391 (E.D. Pa. 2007) (no materially adverse action based on “heated” meeting

with supervisor which left plaintiff suffering from emotional distress).

        Accordingly, because Conner cannot show the meeting was a materially

adverse action, his retaliation claim fails.

                                           24
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 25 of 34




        2. Conner cannot establish the necessary casual connection.

        Conner’s claims with respect to his suspension also fail because he cannot

establish his prima facie case. Specifically, Conner cannot establish a causal

connection between his alleged protected activity and his suspension. As addressed

above, Conner must show more than mere temporal proximity. Conner must offer

evidence from which a reasonable jury might conclude that an employer’s retaliatory

animus was the “but-for” cause of the adverse action. Conner must show that the

desire to retaliate was the but-for cause of the challenged employment action, i.e.,

Conner must show that the unlawful retaliation would not have occurred without the

alleged wrongful action or actions of the employer. Nassar, 570 U.S. 338, at 358-

359.

        Conner cannot make the requisite showing that MHMHP would not have

taken the same decision, but-for his complaints. Conner submitted complaints to

MHMHP verbally in April 2019 and in writing on April 23, 2019. However, Conner

has no evidence that these complaints were in any way causally related to his

suspension. Furthermore, Love, the ultimate decisionmaker in the suspension, did

not retaliate against Conner by suspending.       Instead, Love suspended Conner

because he walked out of the institution and abandoned his post and patients.

        Moreover, there is no evidence that the suspension following the walk-out was

based on a retaliatory animus. Instead, the record is clear that Conner did not

                                          25
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 26 of 34




prearrange his leaving early, nor does Conner even know who cared for his patients

on the day that he walked out. Furthermore, Love, the ultimate decisionmaker on

the suspension, did not consider any complaints made by Conner, or the fact that the

MHPs held a meeting to discuss their concerns, in her decision to suspend the MHPs,

including Conner. Instead, the decision was a result of Conner endangering his

mentally ill patients by walking out on them and making no arrangements for their

daily care. Accordingly, Conner cannot make the required but-for showing and,

therefore, his prima facie case fails.

        3. MHMHP had legitimate and nonretaliatory reasons for the meeting
           and suspension.

        Here, even assuming that Conner could offer evidence demonstrating that

Defendants’ retaliatory animus was the “but for” cause of the meeting and his

suspension and were sufficient to set forth a prima facie case, which he cannot, as

addressed above, Defendants have legitimate and non-retaliatory reasons. Conner

was asked to attend the meeting to discuss the MHPs concerns, including proper

reporting of incidents and complaints. In addition, Conner was suspended for

abandoning his mentally ill patients and was offered a transfer because he did not

feel safe at SRCI.

        4. Conner cannot prove pretext.

        To establish pretext, Conner must show that the “proffered reason is not the

true reason for the employment decision.” Jackson v. State of Ala. State Tenure
                                         26
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 27 of 34




Comm’n, 405 F.3d 1276, 1289 (11th Cir. 2005). Moreover, Conner must prove that

each and every proffered reason for his suspension and his transfer is a pretext. If

he does not proffer sufficient evidence of pretext regarding each of the defendant

employer’s articulated reasons, the employer is entitled to summary judgment.

Combs v. Plantation Patterns, Meadowcraft, Inc., 106 F.3d 1519 (11th Cir. 1997)

(there must be “sufficient evidence to demonstrate the existence of a genuine issue

of fact as to the truth of each of the employer's proffered reasons for its challenged

action”).

        Conner cannot point to any other individual that walked out on their patients,

but who was not suspended. Conner cannot show that the reason for his suspension

was false – Conner admits that he left early and admits that he does not whether his

patients were cared for after he left. Accordingly, Conner cannot carry his burden

of demonstrating pretext and summary judgment should be granted in favor of

Defendants on Conner’s Title VII, Chapter 760, and Section 1981 retaliation claim.

C.      Count III - Hostile Work Environment.

        To establish his claim for a racial or retaliatory hostile work environment,

Conner must show that his “workplace [was] permeated with discriminatory

intimidation, ridicule, and insult that [was] sufficiently severe or pervasive to alter

the conditions of [her] employment and create an abusive working environment.”

Miller v. Kenworth of Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002)

                                          27
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 28 of 34




(quoting Harris v. Forklift Sys. Inc., 510 U.S. 17, 21, 114 S. Ct. 367, 126 L. Ed. 2d

295 (1993)) (internal marks omitted); Gowski v. Peake, 682 F.3d 1299, 1312 (11th

Cir. 2012) (recognizing claim for retaliatory hostile work environment).

        To avoid summary judgment, Conner must present evidence from which a

jury could find that he is a member of a protected class; he was subject to unwelcome

harassment; the harassment was based on his race or his complaints of

discrimination; the harassment was severe or pervasive enough to alter the terms and

conditions of his employment and create a discriminatorily abusive working

environment; and Defendants are responsible for the harassment under a theory of

either direct or vicarious liability. Adams v. Austal, U.S.A., L.L.C., 754 F.3d 1240,

1248-49 (11th Cir. 2014); Edwards v. Prime, Inc., 602 F.3d 1276, 1300 (11th Cir.

2010).

        Here, Conner alleges that he worked in a racially and retaliatory hostile work

environment; however, he admits no one ever made any racist or retaliatory

comments to him and that he never even overheard any such comments. Conner

also admits that he was not concerned with how his supervisors treated him

“specifically,” but rather a concern with other actions with respect to other

employees. Conner alleges that the October 2018 noose incident was an incident

that had subjected him to a racially hostile work environment. However, Conner

admits that he did not see the noose. Moreover, Conner admits that the Officer who

                                          28
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 29 of 34




allegedly hung the noose was removed from J-Dorm and that he did not see him

again for over 6 months, until April 2019.

        Such “through the grapevine or second-hand conduct is not sufficiently severe

or pervasive so as to create a hostile work environment.” Mason v. S. Ill. Univ. at

Carbondale, 233 F.3d 1036, 1046 n.9 (7th Cir. 2000); Williams v. Ruskin Co.,

Reliable Div., 2012 U.S. Dist. LEXIS 26840, at *14 (M.D. Ala. Mar. 1, 2012)

(“[T]he fact that many of the allegations used to bolster [plaintiff's] claims are based

on comments and incidents he heard second-hand though his co-workers, and were

neither experienced nor witnessed directly by him, weakens the severity of his

allegations”).

        Conner’s allegations of a retaliatory hostile work environment are also

insufficient as a matter of law. The same actions that form the basis for Conner’s

retaliation claim appear to form the basis for his retaliatory hostile work environment

claim. Specifically, Conner claims he was subjected to a retaliatory environment

because of the April 22, 2019 meeting, his July 2019 suspension, and the fact that

he was offered a transfer which he believed was unreasonable. These discrete acts,

standing alone, cannot form the basis of a hostile work environment claim. Gowski,

682 F.3d at 1312 (citing Davis v. Coca–Cola Bottling Co. Consol., 516 F.3d 955,

970 (11th Cir. 2008) (“Discrete acts cannot alone form the basis of a hostile work

environment claim.”) (emphasis in original).

                                          29
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 30 of 34




        Conner’s allegations are simply insufficient to establish a prima facie case of

a racially or retaliatory hostile work environment. See Washington v. Kroger Co.,

218 Fed. Appx. 822, 825 (11th Cir. 2007) (no hostile environment when co-worker

allegedly hung a plastic figurine representing the employee with a rope and called

him names such as “boy”); Ray v. Lee Brass Foundry, LLC, 2017 U.S. Dist. LEXIS

212715 (N.D. Fla. Sept. 19, 2017) (the plaintiff’s relationship to the rope was too

tenuous where “a rope fashioned as a noose was seen hanging in the maintenance

area at Lee Brass. Many of the employees were ‘distraught’ about it. Plaintiff never

saw the noose while it was hanging, but she did ‘glance[] at it’ after it had been taken

down and was about to be thrown in the trash”). Accordingly, Conner simply cannot

establish that under the totality of the circumstances, the conduct was sufficiently

severe and pervasive. See Cunningham v. Austal, US.A., L.L.C, 2011 U.S. Dist.

LEXIS 100567, at *6 (S.D. Ala. Sept. 7, 2011) (“[t]he Eleventh Circuit has not held

that the temporary display of a noose by a rogue employee creates a per se hostile

work environment”).

D.      Conner Was Not Constructively Discharged

        To the extent that Conner is attempting to assert a claim for constructive

discharge,4 a constructive discharge occurs when an employer “deliberately makes


4
  Conner does not specifically assert a constructive discharge in his Complaint,
although he alleges he resigned “due to the discrimination, harassment, and
retaliation to which he had been subjected and Defendants’ failure to provide a safe
                                           30
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 31 of 34




an employee’s working conditions intolerable and thereby forces him to quit his

job.” See Bryant v. Jones, 575 F.3d 1281, 1298 (11th Cir. 2009) (quoting Munday

v. Waste Mgmt. of N. Am., 126 F.3d 239, 244 (11th Cir. 1996)). Courts ask if the

work environment is “so unbearable that a reasonable person . . . would be compelled

to resign.” Virgo v. Riviera Beach Assocs., Ltd., 30 F.3d 1350,1363 (11th Cir. 1994).

A plaintiff’s subjective feelings are irrelevant. See Hipp v. Liberty Nat'l Life Ins.

Co., 252 F.3d 1208, 1231 (11th Cir. 2001) (“[i]n evaluating constructive discharge

claims, we do not consider the plaintiff's subjective feelings”).

        The standard for constructive discharge is “quite high.” Id. It is even higher

than the hostile-work-environment standard. See Penn. State Police v. Suders, 542

U.S. 129, 134, 124 S. Ct. 2342, 159 L. Ed. 2d 204 (2004). Along with showing

harassment altered the terms and conditions of his employment, a plaintiff must

show “a causal link between the allegedly intolerable conditions and [his]

resignation.” Green v. Brennan, 136 S. Ct. 1769, 1781, 195 L. Ed. 2d 44 (2016).

Furthermore, a plaintiff must give his employer enough time to remedy the situation

before resigning. Kilgore v. Thompson & Brock Mgmt., Inc., 93 F.3d 752, 754 (11th

Cir. 1996) (“[a] constructive discharge claim will generally not be found if the

employer is not given sufficient time to remedy the situation”).


and hostile work environment-free work environment.” Further, at his deposition,
Conner testified the proposed transfer was “an unreasonable accommodation.” [Doc.
29-1, 164: 24-165:3].
                                          31
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 32 of 34




        Here, Conner resigned on August 1, 2019, alleging that he had been subjected

to “consistent harassment, discrimination, and retaliation from Centurion’s

administrators and DOC leadership” and was “given the option to resign, be fired or

take a position at another facility that is more than an hour from [his] home.” [Doc.

29-24].

        Despite Conner’s statements, Conner has failed to show that he was subjected

to any harassment, discrimination or retaliation during his employment as discussed

above. To the contrary, Conner effectively forced his own transfer from SRCI by

repeatedly stating that he did not feel safe working there, ostensibly because of the

presence of FDOC Officers over whom neither Centurion nor MHMHP had any

control whatsoever with respect to placement. But, when MHMHP offered him the

opportunity to transfer to another facility, he declined and resigned. Conner cannot

show “a causal link between the allegedly intolerable conditions and [his]

resignation.” Green, 136 S. Ct. at 1781. Conner’s resignation was precipitated by

his own actions and statements that he did not feel safe.

        Accordingly, for these reasons as well as the same reasons his hostile work

environment claim fails, his constructive discharge claim likewise fails.




                                         32
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 33 of 34




                                          III.

                                   CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court enter

an Order granting summary judgment in their favor.


                        CERTIFICATE OF WORD LIMIT

        I hereby certify that there are 7,137 words in this document and that it has

been typed in 14-point font.

                                                 Respectfully submitted,

                                                 /s/Catherine H. Molloy
                                                 Richard C. McCrea, Jr.
                                                 Florida Bar No. 351539
                                                 Email: mccrear@gtlaw.com
                                                 Catherine H. Molloy
                                                 Florida Bar No. 003500
                                                 Email: molloyk@gtlaw.com
                                                 Cayla M. Page
                                                 Florida Bar No. 1003487
                                                 Email: pagec@gtlaw.com
                                                 GREENBERG TRAURIG, P.A.
                                                 101 E. Kennedy Boulevard
                                                 Suite 1900
                                                 Tampa, FL 33602
                                                 Telephone: (813) 318-5700
                                                 Fax: (813) 318-5900
                                                 Attorneys for Defendants




                                           33
ACTIVE 53512988v1
     Case 3:20-cv-05263-TKW-EMT Document 30 Filed 11/05/20 Page 34 of 34




                         CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically transmitted using the CM/ECF System for filing and transmittal to the

following ECF registrant(s) on this November 5, 2020 to:

                                 Gaye L. Huxoll
                             TEIN MALONE PLLC
                               3059 Grand Avenue
                            Coconut Grove, FL 33133
                            ghuxoll@teinmalone.com
                            fchiong@teinmalone.com

                                             /s/Catherine H. Molloy
                                                          Attorney




                                        34
ACTIVE 53512988v1
